Case 1:25-cv-23182-RAR Document 5-1 Entered on FLSD Docket 07/17/2025 Page 1 of 28




                      DECLARATION OF KATHERINE H. BLANKENSHIP

          I, Katherine H. Blankenship, hereby declare under penalty of perjury pursuant to 28 U.S.C.

   § 1746 that the following is true and correct.

          1.      I make this declaration based on my own personal knowledge and if called to testify

   I could and would do so competently and truthfully to these matters.

          2.      I am an attorney in good standing in the states of Tennessee and Florida. I am

   admitted in all United States District Courts in Florida and the Eleventh Circuit Court of Appeals.

   I specialize in the practice of immigration law.

          3.      I am an attorney and co-founder of Sanctuary of the South, PLLC, (“SOS”), a legal

   services organization based in Miami, with offices in New Orleans, Miami, and Chattanooga,

   Tennessee. SOS provides direct pro bono and low-cost immigration legal services and civil rights

   representation to people in Florida and throughout the Southeast. As part of its immigrants’ rights

   work and mission to provide legal representation and counsel to immigrants, SOS and its lawyers

   provide deportation defense, asylum assistance, and family-based immigration services. SOS also

   represents and advocates for individuals harmed in federal custody, families of people who died

   wrongfully in ICE custody, and individuals physically abused by law enforcement. SOS represents

   people held in carceral and detention facilities due to their perceived or actual immigration status

   to advocate for their fundamental constitutional and human rights.

          4.      SOS has eight prospective or retained immigrant clients held at the Collier Dade

   Transition and Training Detention Center in the Florida Everglades, otherwise known as “Alligator

   Alcatraz.”

          5.      As a result of the lack of any policy or process for me and other SOS attorneys to

   contact or meet with people incarcerated at “Alligator Alcatraz,” SOS is unable to provide legal



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Case 1:25-cv-23182-RAR Document 5-1 Entered on FLSD Docket 07/17/2025 Page 2 of 28




   counsel, or to represent our clients in their immigration proceedings. SOS is unable to carry out a

   core component of its public interest mission: to provide legal representation to protect and defend

   the rights of immigrants, including those detained in locked facilities.

           6.      I am further inhibited from speaking with detainees about their constitutional claims

   for human rights abuses suffered inside “Alligator Alcatraz.” Our clients have reported inhumane

   conditions and gross human rights abuses to loved ones, and our inability to meet with these people

   inhibits my ability to potentially bring constitutional claims on their behalf.

           7.      Due to the many barriers to access to counsel at “Alligator Alcatraz,” SOS has to

   date spent at least 68 hours of staff time and at least $1,300 in costs that it would otherwise not

   have needed to spend, in working to achieve our mission of providing legal services to immigrant

   communities. This includes time spent attempting to obtain information about how to establish

   communication with clients at the facility, speaking and coordinating with client and prospective

   client families to attempt to contact and receive news about their loved ones detained at “Alligator

   Alcatraz,” corresponding with state and federal agents to request access to clients at the facility,

   corresponding and working with partner organizations and attorneys to secure access to the facility

   for client visits, informing state and federal congressional representatives about the issues of access

   to legal visits, or waiting for hours in person at the facility, only to be refused an in-person visit.

   The time I and other SOS staff have spent to date in trying to establish contact with immigrants

   incarcerated in this facility has resulted in our organization not being able to help other clients.

           8.      SOS represents Michael Borrego Fernandez (Mr. Borrego) in his immigration

   proceedings. Mr. Borrego is a Cuban national. Mr. Borrego has a final order of removal and SOS

   is assisting him in facilitating deportation.

           9.      On June 30, 2025, Mr. Borrego’s family—namely his mother and wife—contacted



                                                     2
Case 1:25-cv-23182-RAR Document 5-1 Entered on FLSD Docket 07/17/2025 Page 3 of 28




   SOS to retain our legal assistance in filing a meritorious motion to reopen Mr. Borrego’s order of

   removal on his behalf. During their initial consultation with SOS, they shared the following facts

   concerning Mr. Borrego’s case and procedural history:

                  a.     Mr. Borrego had one criminal conviction for which he was sentenced to no

          prison time and three years’ probation.

                  b.     On June 10, 2025, at his check-in with probation in Miami-Dade County,

          he was arrested for violation of probation due to outstanding traffic violations. He was

          transported to the Turner Guilford Knight Correctional Facility in Miami, where he

          remained for about a week.

                  c.     On June 18, 2025, Mr. Borrego was transferred to the John E. Polk

          Correctional Facility, at 211 Eslinger Way, Sanford, FL 32773 in Seminole County to await

          a hearing on his violation of probation. On June 23, 2025, a Seminole County judge ordered

          10 days’ imprisonment for the violation of probation—which was considered time served,

          as he had been in custody since June 10. Despite the order for his release, he remained at

          the Seminole County jail until June 25, 2025.

                  d.     On June 25, 2025, while at the Seminole County jail, Mr. Borrego was

          provided paperwork by unknown officials, that he was told he could sign to agree to be

          transferred to the Krome North ICE Processing Center in Miami, Florida. Instead, on this

          date, he was transported to the Orange County Jail, at 3855 S. John Young Parkway,

          Orlando, FL 32839.

                  e.     On June 28, 2025, Mr. Borrego was transferred to the Pinellas County Jail

          at 14400 49th St North, Clearwater, FL 33762.

          10.     On July 1, 2025, Mr. Borrego’s wife contacted SOS to inform us that he had been



                                                    3
Case 1:25-cv-23182-RAR Document 5-1 Entered on FLSD Docket 07/17/2025 Page 4 of 28




   moved back to the Orange County Jail in Orlando, where he remained until July 4.

           11.     On July 5, 2025, Mr. Borrego’s wife contacted SOS to inform us that he had been

   moved from the Orange County Jail to the “Alligator Alcatraz” facility. Mr. Borrego called his

   wife and his mother from the facility on July 5, 2025, to tell them of his location. After transfer to

   “Alligator Alcatraz” and repeated calls from Mr. Borrego and others reporting the life-threatening

   conditions inside, the family decided to change the terms of SOS’s legal representation from filing

   a motion to reopen Mr. Borrego’s removal order to seeking his removal as quickly as possible.

           12.     After Mr. Borrego was moved to “Alligator Alcatraz” on July 5, I attempted to

   locate him on ICE’s online detainee locator at https://locator.ice.gov/odls/#/search. Mr. Borrego

   appeared on the ICE Locator as “Call Field Office,” which was a live link. When I clicked the link,

   it directed me a page showing that my client was detained at an unnamed facility with the address

   of 54575 Tamiami Trail East, Ochopee, Florida, 34141, which is the address for the Collier Dade

   Transition and Training Detention Center, or “Alligator Alcatraz,” and it listed the phone number

   of Krome North Processing Center, an ICE detention center in Miami. When I attempted to call

   this listed number multiple times throughout the day, there was no answer.

           13.     After this facility was opened, SOS was contacted by numerous families of

   detainees asking our organization to represent their loved ones inside the detention facility in their

   immigration or civil rights cases. There is no publicly available phone number or published process

   to request confidential calls or legal visits with clients at the “Alligator Alcatraz” facility, that I am

   aware of.

           14.     After learning of potential clients’ detention at “Alligator Alcatraz,” my SOS

   colleagues and I tried to contact them as quickly as possible. We contacted Charles Parra, Miami

   ERO Field Office Director with ICE, to confirm these detainees’ whereabouts and schedule legal



                                                       4
Case 1:25-cv-23182-RAR Document 5-1 Entered on FLSD Docket 07/17/2025 Page 5 of 28




   visits. We emailed Officer Parra, copying other Miami ERO ICE officers, on July 7, 8, and 11,

   2025. We received no response to any of these messages. A true and correct copy of this

   correspondence is attached herein as Exhibit 1.

           15.     I also contacted the Florida Department of Emergency Management. Unable to find

   an email or phone number, on July 9, 2025, I sent a message through an online portal on the

   Department of Emergency Management’s website stating that I would be traveling to the facility

   the next day to visit clients. This message was answered by Stephanie Houp, Esq., Deputy

   Executive Director & General Counsel Florida Division of Emergency Management, who sent me

   an email stating that she would forward my message to the “Facility’s legal inbox” and copying

   two email addresses: southfacility@em.myflorida.com and legal@privacy6.com. I responded to

   her email, copying both of these accounts, again requesting access for legal visits. I received no

   response. A true and correct copy of this correspondence is attached herein as Exhibit 2.

           16.     On Thursday, July 10, 2025, I drove to the Collier Dade Transition and Training

   Detention Center (or “Alligator Alcatraz”), at 54575 Tamiami Trail East, Ochopee, Florida, 34141,

   to attempt to meet with Mr. Borrego and other people at the facility for legal visits. Upon arrival

   at about 9:45 am, I was stopped at a checkpoint at the turn-off to the facility by law enforcement,

   including Florida police, Florida National Guard, Florida Highway Patrol, and Florida Department

   of Law Enforcement. I asked to speak with five people – my client Mr. Borrego, three prospective

   clients, and another person who reportedly is a minor that was being held at the facility. I was

   denied access to all legal visits.

           17.     Upon arrival at about 9:45 am, I was told I would have to wait in my car at the

   checkpoint and that someone employed by one of the facility’s contractors, CRS, would come

   speak with me. I waited for about two and half hours at the checkpoint.



                                                   5
Case 1:25-cv-23182-RAR Document 5-1 Entered on FLSD Docket 07/17/2025 Page 6 of 28




           18.     At about 12:30 pm, a staff member with a CRS badge, Carlos Flores, came to the

   checkpoint to speak with me. Mr. Flores asked me to fill out attorney client visitation forms, which

   I did for all five people. A true and correct photo that I took of this visitation request form is

   attached to this declaration as Exhibit 3.

           19.     At that point, Mr. Flores instructed me to leave the checkpoint area and said that

   someone would call me to schedule either a legal call or visit within the next 48 hours.

           20.     I asked Mr. Flores how long it would take to actually meet with my clients, and he

   provided no response.

           21.     I asked Mr. Flores to confirm the process for scheduling legal calls and visits at the

   facility and he informed me that “this is the process.” I confirmed, asking him if the process to

   obtain a legal call and meeting with clients required attorneys to drive to the site, wait for hours at

   the checkpoint, only to turn in a form and hope that a call or visit gets scheduled in the future. He

   confirmed that this was indeed the process, and that there was no other means of speaking with or

   meeting with clients at the facility.

           22.     I asked Mr. Flores to provide a phone number and email address so that I could

   follow up and ensure that I could schedule legal visits. Mr. Flores told me no such email or phone

   number existed.

           23.     After not hearing anything further, I emailed the legal@privacy6.com account at

   8:10 pm on the evening of Thursday, July 10, 2025, informing this account that I had been denied

   access to clients, and provided a full list and identifying information for the five people I needed

   to visit. I included in the message an alert to the authorities that one of the people I was trying to

   meet with was a 15-year-old minor. I never received a response to this email. A copy of this email

   is attached as Exhibit 4; the name and date of birth of the minor has been redacted.



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Case 1:25-cv-23182-RAR Document 5-1 Entered on FLSD Docket 07/17/2025 Page 7 of 28




          24.     Later in the day on July 10, at 9:54 pm, I received an email from the address of

   admin@southerndetention.com that appeared to be responding to my previous emails to the

   Florida Department of Emergency Management, that I had sent on July 9, 2025. The email sent

   the same attorney client visit form that I had completed when I was at the facility the morning of

   July 10, and asked me to submit requests for legal visits. I responded, confirming that I was on site

   earlier that day, had been denied access to counsel, and had already submitted five of the legal

   visitation forms and requested prompt scheduling of my legal visits. A true and correct copy of

   this correspondence is attached as Exhibit 5.

          25.      On the afternoon of Friday, July 11, 2025, I received an email from the

   admin@southerndetention.com address, which stated that I had been “verified” for a one-hour

   virtual attorney visit on Saturday, July 12, 2025, between the hours of 9:30-5:30. No specific time

   or mechanism for the virtual visit was given, nor did the email identify which of the five clients

   that I had requested to speak to would be on the virtual visit. I replied, asking for clarifications

   about these issues. I then received an email on July 12 at 11:06 am, informing me that the facility

   was now facing “unforeseen technical difficulties currently affecting our systems,” and that the

   sender anticipated notifying me of a time for a visit in four days. A true and correct copy of this

   email correspondence is attached as Exhibit 6.

          26.     On July 11, 2025, I also checked the Florida Department of Corrections inmate

   locator website at https://pubapps.fdc.myflorida.com/OffenderSearch/search.aspx, to see if I could

   find any additional information as to how to contact Mr. Borrego. The website stated “No offender

   records were found that matched your search criteria.”

          27.     Neither the “Collier Dade Transition and Training Detention Center,” nor a facility

   called “Alligator Alcatraz” appear on the list of Florida state correctional institutions at



                                                    7
Case 1:25-cv-23182-RAR Document 5-1 Entered on FLSD Docket 07/17/2025 Page 8 of 28




   https://www.fdc.myflorida.com/institutions/institutions-list.

          28.     The promised July 12, 2025, virtual visit did not occur with any of the five people

   for whom I had requested an attorney visit on July 10.

          29.     Mr. Borrego has a final order of removal and requires assistance with deportation

   and potentially submitting credible fear requests in immigration court. As a result of my inability

   to have attorney-client access to Mr. Borrego, I am impeded in my ability to represent him in

   immigration court.

          30.     On July 15, 2025, I emailed the admin@southerndetention.com account to confirm

   Mr. Borrego’s whereabouts and to schedule an in-person legal visit. I also submitted my G-28. A

   true and correct copy of this email is attached as Exhibit 7.

          31.     On July 10, Mr. Borrego made calls to his wife on a payphone from “Alligator

   Alcatraz” to contact my colleagues and me. This phone line is not confidential or private and is a

   monitored and recorded line. Mr. Borrego confirmed via this nonconfidential phone call that he

   wishes to be a named plaintiff in this lawsuit to ensure confidential, private attorney

   communication.

          32.     Based upon information and belief, my prospective clients (whose family members

   and loved ones have asked me and SOS to represent) may have several legal remedies available to

   them in immigration court, including seeking release on bond. One has an order of removal and

   has requested assistance with deportation. Another appears to be bond eligible, and we are working

   to represent him in a motion for custody redetermination. However, as a result of my inability to

   have attorney-client access to these people, I am impeded in my ability to represent them in

   immigration court.

          33.     I am worried that my clients are being held in dangerous, inhumane conditions at



                                                    8
Case 1:25-cv-23182-RAR Document 5-1 Entered on FLSD Docket 07/17/2025 Page 9 of 28




   the “Alligator Alcatraz” facility, and I want to try to provide them with as much relief from those

   conditions as I can, and to do so as quickly as possible. During several phone calls with his family

   since he arrived at the facility on July 5, 2025, Mr. Borrego has described harsh and inhumane

   conditions of confinement there. He reported that detained people are only allowed one meal a day

   (and given only minutes to eat), can only shower once a week, and are otherwise kept around the

   clock in cages inside detention center tents. Mr. Borrego also reports that there have been physical

   assaults and excessive use of force by guards, and a lack of medical care and attention. The

   restrictions on any attorney-client access to people inside the “Alligator Alcatraz” facility have

   effectively foreclosed my ability and SOS’s ability to advocate for them or to represent them in

   immigration or civil rights proceedings.

           34.     Mr. Borrego’s situation is especially dire, as I learned on July 12, 2025, that on July

   11, 2025, he was transported from “Alligator Alcatraz” to a local hospital due to excessive bleeding

   and a need for emergency surgery. He had been unable to secure necessary medical attention at the

   facility and only was transported off-site for emergency care when he was bleeding profusely. As

   of July 15, 2025, I learned that Mr. Borrego had returned to “Alligator Alcatraz” and remains there

   today. His family reported on July 15 that the facility staff were not providing him with the post-

   surgical antibiotics the hospital had prescribed, and that due to the heat and humidity, he had pus

   coming out of his operation site, and he was in a great deal of pain. I believe that Mr. Borrego is

   in grave danger at this facility.

   Executed on July 16, 2025, at Chattanooga, Tennessee.

                                                          /s/ Katherine H. Blakenship
                                                          Katherine H. Blakenship




                                                     9
Case 1:25-cv-23182-RAR Document 5-1 Entered on FLSD Docket 07/17/2025 Page 10 of 28




              EXHIBIT 1
7/15/25,Case
        9:51 AM1:25-cv-23182-RAR              Document  5-1 Entered on
                                                    blankenshiplawgroup.com Mail FLSD
                                                                                 - ICE ERODocket     07/17/2025
                                                                                           over Everglades Camp? Page 11 of 28


                                                                                 Katie Blankenship <katie@blankenshiplawgroup.com>



  ICE ERO over Everglades Camp?
  4 messages

  Mich Gonzalez <mich@sanctuaryofthesouth.com>                                                  Mon, Jul 7, 2025 at 1:31 PM
  To: "Parra, Charles" <charles.parra@ice.dhs.gov>, "Lozada, Carlos" <carlos.lozada@ice.dhs.gov>,
  israel.o.herrera@ice.dhs.gov
  Cc: Katie Blankenship <katie@sanctuaryofthesouth.com>, Katherine Almendarez <katherine@sanctuaryofthesouth.com>

     Good afternoon:

     We have had a few families call us seeking help for their loved ones transferred to the new make-shift facility in the
     Everglades. Will your office retain jurisdiction over their custody matters? If not, can you please provide us contact
     information for who will be overseeing ICE custody there or point us in the right direction?

     Thank you in advance,
     Mich and team


  Katie Blankenship <katie@sanctuaryofthesouth.com>                                            Tue, Jul 8, 2025 at 10:35 AM
  To: Mich Gonzalez <mich@sanctuaryofthesouth.com>
  Cc: "Parra, Charles" <charles.parra@ice.dhs.gov>, "Lozada, Carlos" <carlos.lozada@ice.dhs.gov>,
  israel.o.herrera@ice.dhs.gov, Katherine Almendarez <katherine@sanctuaryofthesouth.com>

     Good morning,

     We are writing again to seek clarity as to how we can contact clients at the Everglades camp. We have clients that were
     told they were being transferred from ICE facilities to the Everglades and now have disappeared from the ICE tracker,
     GettingOut, and neither their families nor us as counsel have been able to make contact.

     Please confirm who we contact to set up legal calls and visits for individuals held at the Everglades camp and
     whether we can and should contact the same ERO deportation officers regarding our clients.

     Is ICE running this facility? If not, who is?

     This is urgent and we need clarity so as to make contact with clients.

     Thank you for your help and prompt attention,
     [Quoted text hidden]
     --
     Katie Blankenship
     Sanctuary of the South (SOS)
     786-671-8133
     www.sanctuaryofthesouth.com



  Katie Blankenship <katie@sanctuaryofthesouth.com>                                                                 Tue, Jul 8, 2025 at 10:35 AM
  To: "Healy, Claire" <chealy@miamiherald.com>

     FYI
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     [Quoted text hidden]



  Mich Gonzalez <mich@sanctuaryofthesouth.com>                                                 Fri, Jul 11, 2025 at 10:45 AM
  To: Katie Blankenship <katie@sanctuaryofthesouth.com>
  Cc: "Parra, Charles" <charles.parra@ice.dhs.gov>, "Lozada, Carlos" <carlos.lozada@ice.dhs.gov>,
  israel.o.herrera@ice.dhs.gov, Katherine Almendarez <katherine@sanctuaryofthesouth.com>


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        9:51 AM1:25-cv-23182-RAR              Document  5-1 Entered on
                                                    blankenshiplawgroup.com Mail FLSD
                                                                                 - ICE ERODocket     07/17/2025
                                                                                           over Everglades Camp? Page 12 of 28
     Re: Michael Borrego Fernandez, A203 462 954

     Good morning, Officers:

     We have a client who is currently being held at the Everglades camp who we were denied access to despite waiting at the
     facility for approximately three hours yesterday. We urgently need to speak with our client. Moreover, we want to flag for
     your office that our client is subject to a final order of removal and is seeking to be removed to Mexico as soon as
     possible, should they receive him, given that flights to Cuba are so infrequent and he is enduring life-threatening
     conditions at this unregulated internment camp.

     Can your office do anything to assist us with his swift removal?

     Thank you,
     Counsel for Mr. Borrego Fernandez
     SOS Legal Services
     [Quoted text hidden]


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           471K




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              EXHIBIT 2
7/15/25,Case
        10:21 PM1:25-cv-23182-RAR             Document  5-1 Entered Mail
                                                    blankenshiplawgroup.com on -FLSD     Docket 07/17/2025
                                                                                 FW: FloridaDisaster.org Contact (1) Page 14 of 28


                                                                                 Katie Blankenship <katie@blankenshiplawgroup.com>



  FW: FloridaDisaster.org Contact (1)
  3 messages

  Stephanie Houp <Stephanie.Houp@em.myflorida.com>                                            Wed, Jul 9, 2025 at 5:23 PM
  To: "katie@sanctuaryofthesouth.com" <katie@sanctuaryofthesouth.com>, South Facility <southfacility@em.myflorida.com>,
  "legal@privacy6.com" <legal@privacy6.com>


     Forwarding your request to the Facility’s legal inbox. Thank you.


     Stephanie Houp, Esq.
     Deputy Executive Director & General Counsel
     Florida Division of Emergency Management

     Work Cell: (850) 815-5762

     Personal Cell: (727) 685-9520

     Stephanie.Houp@em.myflorida.com




                    Most written communications to or from state employees are public records obtainable by the
                    public upon request. Emails sent to me at this email address may be considered public and will
                    only be withheld from disclosure if deemed confidential pursuant to the laws of the State of
                    Florida.




     From: ESF 14 <esf14@em.myflorida.com>
     Sent: Wednesday, July 9, 2025 2:26 PM
     To: Stephanie Houp <Stephanie.Houp@em.myflorida.com>; Kelly Ann Kennedy <KellyAnn.Kennedy@em.
     myflorida.com>
     Subject: Fwd: FloridaDisaster.org Contact (1)




          CAUTION: This email originated from outside the organization. Do not click links or open attachments
          unless you recognize the sender and know the content is safe.




     ———————— Forwarded message ————————

     From: katie@sanctuaryofthesouth.com

     Date: Jul. 09, 2025 1:12pm

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7/15/25,Case
        10:21 PM1:25-cv-23182-RAR             Document  5-1 Entered Mail
                                                    blankenshiplawgroup.com on -FLSD     Docket 07/17/2025
                                                                                 FW: FloridaDisaster.org Contact (1) Page 15 of 28
     Subject: FloridaDisaster.org Contact

     To: esf14@em.myflorida.com, katie@sanctuaryofthesouth.com



     CAUTION: This email originated from outside the organization. Do not click links or open attachments unless
     you recognize the sender and know the content is safe.

     Name: Katie Blankenship

     Email: katie@sanctuaryofthesouth.com

     Subject: Other

     Message: I am an attorney with clients at the Everglades detention camp. I need to visit them tomorrow for
     legal visits. Please confirm the process. I will have a translator w me and will arrive tomorrow morning.

     Thank you.



     Under Florida law, correspondence with the Florida Division of Emergency Management concerning agency business that
     is neither confidential nor exempt pursuant to Florida Statutes is a public record and will be made available to the public
     upon request.


  Katie Blankenship <katie@sanctuaryofthesouth.com>                                            Wed, Jul 9, 2025 at 6:44 PM
  To: Stephanie Houp <Stephanie.Houp@em.myflorida.com>
  Cc: South Facility <southfacility@em.myflorida.com>, "legal@privacy6.com" <legal@privacy6.com>

     Great, thank you. I have several clients I need to meet tomorrow morning. I plan to be at the facility around 8:30 AM. I will
     have a translator with me. Please advise if you need any further information to plan for our legal visits.

     Katie Blankenship
     Sanctuary of the South (SOS)
     786-671-8133
     www.sanctuaryofthesouth.com

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  Katie Blankenship <katie@sanctuaryofthesouth.com>                                       Wed, Jul 9, 2025 at 6:45 PM
  To: Mich Gonzalez <mich@sanctuaryofthesouth.com>, Katherine Almendarez <katherine@sanctuaryofthesouth.com>

     FYI

     Katie Blankenship
     Sanctuary of the South (SOS)
     786-671-8133
     www.sanctuaryofthesouth.com

     [Quoted text hidden]




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              EXHIBIT 3
Case 1:25-cv-23182-RAR Document 5-1 Entered on FLSD Docket 07/17/2025 Page 17 of 28
Case 1:25-cv-23182-RAR Document 5-1 Entered on FLSD Docket 07/17/2025 Page 18 of 28
Case 1:25-cv-23182-RAR Document 5-1 Entered on FLSD Docket 07/17/2025 Page 19 of 28




              EXHIBIT 4
7/15/25,Case   1:25-cv-23182-RAR
        10:23 AM                              Document       5-1 Entered
                                                blankenshiplawgroup.com          on FLSD
                                                                        Mail - Request            Docket
                                                                                       for legal visits         07/17/2025
                                                                                                        at Everglades                Page 20 of 28
                                                                                                                      Detention Center.



                                                                                 Katie Blankenship <katie@blankenshiplawgroup.com>



  Request for legal visits at Everglades Detention Center.
  1 message

  Katie Blankenship <katie@sanctuaryofthesouth.com>                                                                 Thu, Jul 10, 2025 at 8:10 PM
  To: legal@privacy6.com

     Hello,

     I came to the facility today to meet with five people and was denied access after waiting for almost 3 hours at the
     checkpoint. Below are the individuals I need to meet with. Can you please confirm how I can schedule legal visits with
     these individuals?

     Michael Borrego, AXXXXXXXX, Cuba

     Fernando Artese, Argentina (A# unknown)

     Raul Casado Cabral, A 246585403, DR

     Sevenet Aristilde, A 246838236, Haiti

                                         (15 year old): Mexico, DOB                      .

     Please be aware that if            is still at the Everglades facility, he is a minor and should be released/transferred
     immediately.

     Thank you,

     --
     Katie Blankenship
     Founding Partner
     Sanctuary of the South (SOS) Legal
     www.sanctuaryofthesouth.com
     786-671-8133




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Case 1:25-cv-23182-RAR Document 5-1 Entered on FLSD Docket 07/17/2025 Page 21 of 28




              EXHIBIT 5
7/11/25,Case
        2:15 PM 1:25-cv-23182-RAR             Document      5-1 Entered
                                                 blankenshiplawgroup.com         on FLSD
                                                                         Mail - Attorney         Docket
                                                                                         Visit Request       07/17/2025
                                                                                                       – South Detention Facility Page 22 of 28



                                                                                 Katie Blankenship <katie@blankenshiplawgroup.com>



  Attorney Visit Request – South Detention Facility
  2 messages

  Admin Support <admin@southerndetention.com>                                                                      Thu, Jul 10, 2025 at 9:54 PM
  To: "katie@sanctuaryofthesouth.com" <katie@sanctuaryofthesouth.com>


     Thank you for contacting the South Detention Facility to request an appointment with your client.

     Attached to this email is the Attorney Visit Request Form. Please complete the form in its entirety
     and return it via email to admin@southerndetention.com. Once received, our team will review
     the information and reach out to you to schedule your visit accordingly.

     If you have any urgent matters or require further assistance, please include that in your response.

     Thank you for your cooperation.

     Respectfully,

     Southern Detention Administration

     Admin@southerndetention.com



          Legal_Counsel_Visitation_Form 7.10.pdf
          141K


  Katie Blankenship <katie@sanctuaryofthesouth.com>                                                               Thu, Jul 10, 2025 at 11:46 PM
  To: admin@southerndetention.com

     I submitted all 5 of these forms on site today. And was told I would be contacted to schedule a visit. Please advise as to
     when I can schedule.

     Katie Blankenship
     Sanctuary of the South (SOS)
     786-671-8133
     www.sanctuaryofthesouth.com

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Case 1:25-cv-23182-RAR Document 5-1 Entered on FLSD Docket 07/17/2025 Page 23 of 28




              EXHIBIT 6
7/12/25,Case   1:25-cv-23182-RAR
        11:27 AM                       DocumentMail
                             blankenshiplawgroup.com 5-1
                                                       - Re: Entered
                                                             Attorney Visiton FLSD
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                                                                                              Delay in                   PageMeeting
                                                                                                       Scheduling Attorney-Client 24 of 28


                                                                                 Katie Blankenship <katie@blankenshiplawgroup.com>



  Re: Attorney Visit Request/ Temporary Delay in Scheduling Attorney-Client Meeting
  1 message

  Admin Support <admin@southerndetention.com>                                                                      Sat, Jul 12, 2025 at 11:06 AM
  To: Katie Blankenship <katie@sanctuaryofthesouth.com>


     Thank you for your continued coordination.

     Due to unforeseen technical difficulties currently affecting our systems, we are actively working to
     restore the necessary infrastructure to properly accommodate attorney-client meetings with your
     client(s). Please be assured that every effort is being made to resolve this matter promptly and to
     ensure the integrity of confidential legal communications.

     We recognize and respect the critical importance of timely and secure attorney-client access. Your
     patience and understanding during this period are greatly appreciated as we work to restore and
     expand full operational functionality.

     At this time, we anticipate notifying you by Wednesday, July 16, 2025, regarding the availability
     and technical capability to proceed with the requested legal session(s).

     Should you have any questions or wish to share specific scheduling preferences in the meantime,
     please do not hesitate to reach out.

     Respectfully,

     South Detention Facility Coordination Team

     admin@southerndetention.com


     From: Katie Blankenship <katie@sanctuaryofthesouth.com>
     Sent: Saturday, July 12, 2025 11:02 AM
     To: Admin Support <admin@southerndetention.com>
     Subject: Re: Attorney Visit Request

     Good morning,

     I requested legal visits for five individuals. Which client were you attempting to schedule a "virtual visit" for? Again, I have
     5 individuals I need to see. I need to meet with them in person so they can sign documents, and I already submitted legal
     visit forms for all five individuals. I was told you would schedule these visits within 48 hours and yet I still do not have any
     idea when I will be able to meet with my clients.

     I will also note that you scheduled this "virtual visit" on from 9:30-5:30 on Saturday, you have given me no specific time for
     this "virtual visit" or mechanism as to how it will take place (Zoom, phone call?).

     This is impeding my ability to represent my clients. Again, I have already been to the site where I waited almost three
     hours before being turned away. I have five individuals I need to meet in person.

     Please advise asap. We are well past the 48 hour window that CRS promised to schedule these legal visits.



     On Fri, Jul 11, 2025 at 1:18 PM Admin Support <admin@southerndetention.com> wrote:

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7/12/25,Case   1:25-cv-23182-RAR
        11:27 AM                       DocumentMail
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                                                             Attorney Visiton FLSD
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                                                                                    Temporary        07/17/2025
                                                                                              Delay in                   PageMeeting
                                                                                                       Scheduling Attorney-Client 25 of 28
       Thank you for your request to schedule a virtual visitation with your client.

       We are pleased to inform you that you have been verified and a one-hour virtual attorney visit
       can be accommodated starting tomorrow, Saturday, July 12, 2025, with availability beginning at
       9:30 AM- 5:30pm. Please confirm your preferred time slot at your earliest convenience so we
       may finalize the appointment.

       Should you have any additional questions or need further assistance, feel free to contact us.

       Best regards,
       South Detention Facility Coordination team
       admin@southerndetention.com




     --
     Katie Blankenship
     Sanctuary of the South (SOS)
     786-671-8133
     www.sanctuaryofthesouth.com




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              EXHIBIT 7
7/15/25,Case
        10:22 PM1:25-cv-23182-RAR       DocumentMail
                              blankenshiplawgroup.com 5-1     Entered
                                                        - Re: Attorney Visiton FLSD
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                                                                                               Delay in                   PageMeeting
                                                                                                        Scheduling Attorney-Client 27 of 28


                                                                                 Katie Blankenship <katie@blankenshiplawgroup.com>



  Re: Attorney Visit Request/ Temporary Delay in Scheduling Attorney-Client Meeting
  2 messages

  Admin Support <admin@southerndetention.com>                                                                      Sat, Jul 12, 2025 at 12:06 PM
  To: Katie Blankenship <katie@sanctuaryofthesouth.com>


     Thank you for your continued coordination.

     Due to unforeseen technical difficulties currently affecting our systems, we are actively working to
     restore the necessary infrastructure to properly accommodate attorney-client meetings with your
     client(s). Please be assured that every effort is being made to resolve this matter promptly and to
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     and technical capability to proceed with the requested legal session(s).

     Should you have any questions or wish to share specific scheduling preferences in the meantime,
     please do not hesitate to reach out.

     Respectfully,

     South Detention Facility Coordination Team

     admin@southerndetention.com


     From: Katie Blankenship <katie@sanctuaryofthesouth.com>
     Sent: Saturday, July 12, 2025 11:02 AM
     To: Admin Support <admin@southerndetention.com>
     Subject: Re: Attorney Visit Request

     Good morning,

     I requested legal visits for five individuals. Which client were you attempting to schedule a "virtual visit" for? Again, I have
     5 individuals I need to see. I need to meet with them in person so they can sign documents, and I already submitted legal
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     This is impeding my ability to represent my clients. Again, I have already been to the site where I waited almost three
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     Please advise asap. We are well past the 48 hour window that CRS promised to schedule these legal visits.



     On Fri, Jul 11, 2025 at 1:18 PM Admin Support <admin@southerndetention.com> wrote:

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7/15/25,Case
        10:22 PM1:25-cv-23182-RAR       DocumentMail
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                                                        - Re: Attorney Visiton FLSD
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                                                                                     Temporary        07/17/2025
                                                                                               Delay in                   PageMeeting
                                                                                                        Scheduling Attorney-Client 28 of 28
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       We are pleased to inform you that you have been verified and a one-hour virtual attorney visit
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       may finalize the appointment.

       Should you have any additional questions or need further assistance, feel free to contact us.

       Best regards,
       South Detention Facility Coordination team
       admin@southerndetention.com




     --
     Katie Blankenship
     Sanctuary of the South (SOS)
     786-671-8133
     www.sanctuaryofthesouth.com



  Katie Blankenship <katie@sanctuaryofthesouth.com>                                                               Tue, Jul 15, 2025 at 10:40 AM
  To: Admin Support <admin@southerndetention.com>

     Good morning,

     I am attempting to follow up to schedule in-person legal visits. Please confirm whether my client, Michael
     Borrego, 203462954, is still at the facility. His G28 is attached. And if he is, please schedule an in-person legal visit ASAP.

     Thank you,
     Quoted te t hidden]


          g-28_Michael Borrego Fernandez_SOS Legal Services.pdf
          471K




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